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                             United States Bankruptcy Court
                                          Southern District Of Texas
                                                                    §
In re:                                                              § Chapter 7
                                                                    §
HF HOLDCO, LLC,                                                     § Case No. 18-33309
                                                                    §
                   Debtor.                                          §
                                                                    §
                                                                    §
In re:                                                              § Chapter 7
                                                                    §
HUDSONFIELD ADMINISTRATION,                                         § Case No. 18-33314
LLC,                                                                §
                                                                    §
                   Debtor.                                          §
                                                                    §
In re:                                                              § Chapter 7
                                                                    §
S & S HEAVY HAUL,                                                   § Case No. 18-33318
                                                                    §
                   Debtor.                                          §
                                                                    §


              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.       Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney
         for the above named Debtors and that compensation paid to me within one year before
         the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
         or to be rendered on behalf of the Debtors in contemplation of or in connection with the
         bankruptcy above-referenced cases is as follows:

         For legal services, I have agreed to accept ....................................................$30,000.00

         Prior to the filing of this statement I have received .......................................$30,000.00

         Balance Due ...................................................................................................$0.00

2.       The source of the compensation paid to me was:

         a.        S&S Heavy Haul, LLC - $24,000; and

         b.        HF Holdco, LLC - $6,000.


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3.      The source of compensation to be paid to me is: Not Applicable.

4.      I have not agreed to share the above-disclosed compensation with any other person unless
        they are members and associates of my law firm.

5.      In return for the above-disclosed fee, I have agreed to render legal service for the
        following aspects of the bankruptcy case, including:

        a.       Analysis of the debtor’s financial situation, and rendering advice to the debtor in
                 determining whether to file a petition in bankruptcy;

        b.       Preparation and filing of any petition, schedules, statements of affairs and plan
                 which may be required; and

        c.       Representation of the debtor at the first meeting of creditors, and any adjourned
                 hearings thereof.

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following
        services:

        Representation of the Debtor in any dischargeability actions, judicial lien avoidances,
        relief from stay actions, any adversary proceedings, or any other matter.



                                         CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to me for representation of the debtor(s) in this bankruptcy proceeding.


June 20, 2018                                         /s/ Eric M. English
Date                                                  Eric M. English
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                                                      Porter Hedges LLP
                                                      1000 Main Street, 36th Floor
                                                      Houston, Texas 77002-2764
                                                      Telephone: (713) 226-6000
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